                                                               United States Bankruptcy Court
                                                               Eastern District of Washington
In re:                                                                                                                 Case No. 24-01519-FPC
1 Min LLC                                                                                                              Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0980-2                                                  User: notice                                                                Page 1 of 3
Date Rcvd: Sep 23, 2024                                               Form ID: 309F1                                                            Total Noticed: 23
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 25, 2024:
Recip ID                Recipient Name and Address
db                    + 1 Min LLC, 10605 SE 240th St. PMB #115, Kent, WA 98031-4903
aty                   + Darren R Krattli, Eisenhower Carlson PLLC, 909 A Street, Suite 1200, Tacoma, Suite 600 Tacoma, WA 98402-5114
aty                   + Jason E Wax, Bush Kornfeld LLP, 601 Union Street, Suite 5000, Seattle, WA 98101-2373
aty                     Ragan L Powers, Davis Wright Tremaine LLP, 920 Fifth Avenue, Ste 3300, Seattle, WA 98104-1610
cr                    + Darren R Krattli, Eisenhower Carlson PLLC, 909 A St, Suite 600, Tacoma, WA 98402 UNITED STATES 98402-5114
cr                    + WF CREL 2020 Grantor Trust, C/O Darren R. Krattli, 909 A Street, Suite 600, Tacoma, WA 98402-5114
4290734               + Cai et al v Christ et al Plaintiffs, c/o Reid & Wise LLC, One Penn Plaza, Suite 2015, New York, NY 10119-2002
4290735               + Plaintiffs in Cai et al v Christ, c/o Arete Law Group PLLC, 1218 Third Avenue, Suite 2100, Seattle, WA 98101-3094
4290736               + Southport Hotel Eb-5, LP, 10605 SE 240th St. PMB #115, Kent, WA 98031-4903
4290733                 U.S. Dept. of Justice, U.S. Attorney's Office, EDWA, PO Box 1494, Spokane, WA 99210-1494
4290732               + U.S. Small Business Admin, Legal Dept., 2401 Fourth Ave. #450, Seattle, WA 98121-3459
4290728                 WA Dept of Emp Sec-OLY, UI Tax Admin, PO Box 9046, Olympia, WA 98507-9046
4290727              ++ WA STATE DEPT OF LABOR & INDUSTRIES, BANKRUPTCY UNIT, PO BOX 44171, OLYMPIA WA 98504-4171 address filed
                        with court:, WA Dept of L&I-OLY, Collections, PO Box 44170, Olympia, WA 98504-4170

TOTAL: 13

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
aty                    + EDI: BDRKRATTLI
                                                                                        Sep 24 2024 03:48:00      Darren R Krattli, Eisenhower Carlson PLLC, 909
                                                                                                                  A Street, Suite 1200, Tacoma, Suite 600, Tacoma,
                                                                                                                  WA 98402-5114
aty                       Email/Text: jday@bskd.com
                                                                                        Sep 23 2024 23:53:00      James L Day, Bush Strout & Kornfeld, 601 Union
                                                                                                                  Street, Suite 5000, Seattle, WA 98101
smg                       EDI: IRS.COM
                                                                                        Sep 24 2024 03:48:00      Internal Revenue Service, PO Box 7346,
                                                                                                                  Philadelphia, PA 19101-7346
smg                       Email/Text: bcureader@atg.wa.gov
                                                                                        Sep 23 2024 23:53:00      Attorney General's Office, Bankruptcy &
                                                                                                                  Collections Unit, 800 Fifth Avenue, Suite 2000,
                                                                                                                  Seattle, WA 98104
smg                       EDI: WADEPREV.COM
                                                                                        Sep 24 2024 03:48:00      State of Washington, Department of Revenue,
                                                                                                                  2101 4th Ave, Ste 1400, Seattle, WA 98121-2300
smg                       Email/Text: LAROBankruptcy@SEC.gov
                                                                                        Sep 23 2024 23:53:00      Securities & Exchange Commission, Attn:
                                                                                                                  Bankruptcy Counsel, 5670 Wilshire Blvd 11th
                                                                                                                  Floor, Los Angeles, CA 90036-3648
ust                    + Email/Text: ustp.region18.sp.ecf@usdoj.gov
                                                                                        Sep 23 2024 23:53:00      US Trustee, US Court House, 920 W Riverside
                                                                                                                  Ave, Suite 593, Spokane, WA 99201-1012
cr                     + EDI: BDRKRATTLI
                                                                                        Sep 24 2024 03:48:00      Darren R Krattli, Eisenhower Carlson PLLC, 909
                                                                                                                  A St, Suite 600, Tacoma, WA 98402, UNITED
                                                                                                                  STATES 98402-5114
cr                     + EDI: BDRKRATTLI
                                                                                        Sep 24 2024 03:48:00      WF CREL 2020 Grantor Trust, C/O Darren R.




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District/off: 0980-2                                                   User: notice                                                        Page 2 of 3
Date Rcvd: Sep 23, 2024                                                Form ID: 309F1                                                    Total Noticed: 23
                                                                                                             Krattli, 909 A Street, Suite 600, Tacoma, WA
                                                                                                             98402-5114
4290731                 ^ MEBN
                                                                                    Sep 23 2024 23:44:03     Attorney General of the, United States, US
                                                                                                             Department of Justice, 950 Pennsylvania Ave.
                                                                                                             NW, Washington, DC 20530-0001
4290729                    Email/Text: bcureader@atg.wa.gov
                                                                                    Sep 23 2024 23:53:00     WA Attorney General, Bankruptcy & Collections
                                                                                                             Unit, 800 5th Ave #2000, Seattle, WA 98104
4290723                    Email/Text: christine.leininger@usdoj.gov
                                                                                    Sep 23 2024 23:53:00     US Attorney, Attn Bankruptcy Assistant, 700
                                                                                                             Stewart ST #5220, Seattle, WA 98101-4438
4290726                    EDI: WADEPREV.COM
                                                                                    Sep 24 2024 03:48:00     WA Dept of Rev-SEA, Bankruptcy/Claims Unit,
                                                                                                             2101 4th Ave #1400, Seattle, WA 98121-2300

TOTAL: 13


                                                      BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID           Bypass Reason Name and Address
4290724            *P++          INTERNAL REVENUE SERVICE, CENTRALIZED INSOLVENCY OPERATIONS, PO BOX 7346, PHILADELPHIA PA
                                 19101-7346, address filed with court:, Internal Revenue Service, Jackson Federal Bldg, 915 2nd Ave M/S W243, Seattle, WA
                                 98174
4290725            *+            US Treasury, Secretary of the Treasury, 1500 Pennsylvania Ave NW, Washington, DC 20220-0001
4290730            *+            United States of America, Internal Revenue Service, 915 Second Ave., Seattle, WA 98174-1009

TOTAL: 0 Undeliverable, 3 Duplicate, 0 Out of date forwarding address


                                                     NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 25, 2024                                          Signature:          /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 23, 2024 at the address(es) listed
below:
Name                               Email Address
Darren R Krattli
                                   on behalf of Creditor WF CREL 2020 Grantor Trust dkrattli@eisenhowerlaw.com jfernando@eisenhowerlaw.com

Darren R Krattli
                                   on behalf of Creditor Darren R Krattli dkrattli@eisenhowerlaw.com jfernando@eisenhowerlaw.com

James L Day
                                   on behalf of Debtor 1 Min LLC jday@bskd.com
                                   psutton@bskd.com;psutton@ecf.courtdrive.com;vbraxton@bskd.com;vbraxton@ecf.courtdrive.com;mbeck@bskd.com;mbeck@e
                                   cf.courtdrive.com;jday@ecf.courtdrive.com;eyocom@bskd.com;eyocom@ecf.courtdrive.com

Jason E Wax
                                   on behalf of Debtor 1 Min LLC jwax@bskd.com
                                   psutton@bskd.com;psutton@ecf.courtdrive.com;vbraxton@bskd.com;vbraxton@ecf.courtdrive.com;mbeck@bskd.com;mbeck@e
                                   cf.courtdrive.com;jwax@ecf.courtdrive.com;eyocom@bskd.com;eyocom@ecf.courtdrive.com

Ragan L Powers
                                   on behalf of Interested Party HRLW Hotel LLC raganpowers@dwt.com sherriparsons@dwt.com;SEADocket@dwt.com




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District/off: 0980-2                                User: notice                                 Page 3 of 3
Date Rcvd: Sep 23, 2024                             Form ID: 309F1                             Total Noticed: 23
US Trustee
                          USTP.REGION18.SP.ECF@usdoj.gov


TOTAL: 6




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Information to identify the case:
Debtor
                 1 Min LLC                                                                   EIN:   81−1792574
                 Name

United States Bankruptcy Court      EASTERN DISTRICT OF WASHINGTON                           Date case filed for chapter:       11      9/20/24

Case number:  24−01519−FPC11
    Official Form 309F1 (For Corporations or Partnerships)
    Notice of Chapter 11 Bankruptcy Case                                                                                                          (10/20)

    For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
    been entered.
    This notice has important information about the case for creditors, debtors, and trustees including information about
    the meeting of creditors and deadlines. Read both pages carefully.
    The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
    take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
    sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
    from the debtor by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
    and attorney's fees.
    Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted
    from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice.
    (See line 11 below for more information.)
    To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
    the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.uscourts.gov).

    The staff of the bankruptcy clerk's office cannot give legal advice.

    Do not file this notice with any proof of claim or other filing in the case.


         1. Debtor's full name                      1 Min LLC


         2. All other names used in the
            last 8 years


         3. Address                                 10605 SE 240th St. PMB #115
                                                    Kent, WA 98031

         4. Debtor's attorney                       James L Day
            Name and address                        Bush Strout & Kornfeld                               Contact phone 206−292−2110
                                                    601 Union Street
                                                    Suite 5000                                           Email: jday@bskd.com
                                                    Seattle, WA 98101

         5. Bankruptcy clerk's office                                                                    Hours open:
            Documents in this case may be filed                                                          8:30 am − 4:30 pm Monday − Friday, excluding
            at this address.                        904 W Riverside Ave, Suite 304                       holidays
            You may inspect all records filed in    PO Box 2164
            this case at this office or online at   Spokane, WA 99201                                    Contact phone (509) 458−5300
            www.pacer.uscourts.gov.
                                                                                                         Date: September 23, 2024


         6. Meeting of creditors                                                                        Location:
            The debtor's representative must    October 25, 2024 at 09:00 AM
            attend the meeting to be questioned                                                         1−877−953−9294 Access Code:
            under oath.                         The meeting may be continued or adjourned to a later    4822893
            Creditors may attend, but are not   date. If so, the date will be on the court docket.
            required to do so.

                                                                                                          For more information, see page 2 >



   Official Form 309F1 (For Corporations or Partnerships)                 Notice of Chapter 11 Bankruptcy Case                                     page 1




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Debtor 1 Min LLC                                                                                                        Case number 24−01519−FPC11


  7. Proof of claim deadline                 Deadline for filing proof of claim:                                November 29, 2024
                                             For a governmental unit:                                           March 19, 2025
                                             A proof of claim is a signed statement describing a
                                             creditor's claim. A proof of claim form may be obtained at
                                             www.uscourts.gov or any bankruptcy clerk's office.
                                             Your claim will be allowed in the amount scheduled
                                             unless:

                                                        • your claim is designated as disputed,
                                                          contingent, or unliquidated;
                                                        • you file a proof of claim in a different amount; or
                                                        • you receive another notice.
                                             If your claim is not scheduled or if your claim is designated
                                             as disputed, contingent, or unliquidated, you must file a
                                             proof of claim or you might not be paid on your claim and
                                             you might be unable to vote on a plan. You may file a
                                             proof of claim even if your claim is scheduled.
                                             You may review the schedules at the bankruptcy clerk's
                                             office or online at www.pacer.uscourts.gov.
                                             Secured creditors retain rights in their collateral regardless
                                             of whether they file a proof of claim. Filing a proof of claim
                                             submits a creditor to the jurisdiction of the bankruptcy
                                             court, with consequences a lawyer can explain. For
                                             example, a secured creditor who files a proof of claim may
                                             surrender important nonmonetary rights, including the right
                                             to a jury trial.


  8. Exception to discharge                  If § 523(c) applies to your claim and you seek to have it
     deadline                                excepted from discharge, you must start a judicial
      The bankruptcy clerk's office must     proceeding by filing a complaint by the deadline stated
      receive a complaint and any            below.
      required filing fee by the following   Deadline for filing the complaint:                                 December 24, 2024
      deadline.


                                             If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  9. Creditors
     address
               with a foreign                extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                             have any questions about your rights in this case.


                                             Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                             court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  10. Filing a Chapter 11
      bankruptcy case
                                             and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                             hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                             trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                             business.


                                             Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                             debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  11. Discharge of debts                     debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                             discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                             paying the filing fee in the bankruptcy clerk's office by the deadline.




Official Form 309F1 (For Corporations or Partnerships)                     Notice of Chapter 11 Bankruptcy Case                                        page 2




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